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                            Exhibit 1
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    1              UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
    2                    EASTERN DIVISION
    3    IN RE: NATIONAL             )    MDL No. 2804
         PRESCRIPTION OPIATE         )
    4    LITIGATION                  )    Case No.
                                     )    1:17-MD-2804
    5                                )
         THIS DOCUMENT RELATES TO    )    Hon. Dan A.
    6    ALL CASES                   )    Polster
                                     )
    7
    8
    9                              __ __ __
  10                        Saturday, May 4, 2019
                                  __ __ __
  11
              HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
  12                   CONFIDENTIALITY REVIEW
                              __ __ __
  13
  14
  15
  16             Videotaped Deposition of MEREDITH B.
           ROSENTHAL, Ph.D., held at Robins Kaplan LLP,
  17       800 Boylston Street, Suite 2500, Boston,
           Massachusetts, commencing at 8:04 a.m., on
  18       the above date, before Michael E. Miller,
           Fellow of the Academy of Professional
  19       Reporters, Registered Diplomate Reporter,
           Certified Realtime Reporter and Notary
  20       Public.
  21
  22
  23                             __ __ __
  24                    GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | fax 917.591.5672
  25                         deps@golkow.com

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    1      that there's variation in the way
    2      manufacturers detail, the specific details
    3      may generate more prescriptions or fewer, and
    4      my model captures the average effect.                    That's
    5      what the coefficients basically tell us is
    6      the average effects.
    7                         So there may be variation in
    8      there, but for the purposes of calculating
    9      aggregate impact, the average is appropriate.
  10               Q.         So for manufacturers who have
  11       detailing that's below average, they're being
  12       brought up to the average by the way you've
  13       aggregated the model in terms of causation?
  14               A.         Well, by definition, an average
  15       will be not the same as all the individual
  16       components unless there's no variation, and
  17       so there will be some who are brought up and
  18       some who are brought down.
  19                          It's my belief, as we talked
  20       about before, that this aggregate model is
  21       the most reliable model; because there's
  22       substantial spillover effects, because there
  23       can be noise in the data when we try to
  24       disaggregate it too much.              I think for that
  25       reason, the aggregate model is preferable.

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    1              Q.         You know, though, that not
    2      every manufacturer markets products the same
    3      way?
    4              A.         I guess -- I'm not exactly sure
    5      how to answer that question.                As we've talked
    6      about before, I am not a pharmaceutical
    7      marketing expert.           I leave that to Dr. Perri.
    8      I think it's reasonable to assume that there
    9      is some variation in tactics and the like
  10       across manufacturers and perhaps across
  11       products.
  12               Q.         Well, let's look at one thing
  13       you do talk about.           So there's a difference
  14       in the way promotion is engaged in by brand
  15       companies and marketing may be engaged in by
  16       generic companies, correct?
  17               A.         Yes, brand companies are
  18       primarily the ones that engage in marketing.
  19               Q.         A generic company might still
  20       detail but may just talk about price and
  21       formulary status?
  22                          MR. SOBOL:       Objection.
  23               A.         Generally, manufacturers will
  24       not detail physicians for generics.                   They may
  25       have other sales force activities that they

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    1      do that relate to price, but individual
    2      physicians are not generally making a
    3      decision about one generic versus the other.
    4      That decision happens at the pharmacy.
    5      BY MR. ROTH:
    6              Q.         But Attachment C contains a
    7      slew of generics on that list?
    8              A.         That's correct.          Some of them
    9      have contacts related to them.                 Some of them
  10       don't.     Some of those contacts relate to
  11       marketing agreements that are really for
  12       brand drugs.
  13               Q.         So how do you square your
  14       testimony a minute ago that generics
  15       generally don't detail with the fact that you
  16       have a lot of promotional contacts in your
  17       model for generic drugs?
  18                          MR. SOBOL:       Objection.
  19               A.         I believe I just squared it.                I
  20       think a lot of those contacts relate to
  21       marketing agreements.
  22       BY MR. ROTH:
  23               Q.         And so if there's marketing
  24       under a marketing agreement, that gets
  25       attributed to the generic drug, even though

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    1      it may be different in kind than a branded
    2      drug promotional visit?
    3                         MR. SOBOL:       Objection.
    4              A.         No.    The marketing of a
    5      particular drug is identified, and if the
    6      drug is sold by a defendant manufacturer,
    7      even if it's detailed by a different
    8      manufacturer, that gets counted in my model.
    9      And then in Table 3, I take out those
  10       marketing agreement related drugs.
  11                          So -- so it's -- the marketing
  12       is associated with -- I mean, I look at
  13       aggregate marketing, so it's all in the
  14       aggregate marketing.            But I do have a
  15       mechanism for pulling out marketing that's
  16       for someone else's drug.
  17       BY MR. ROTH:
  18               Q.         So if that's the mechanism
  19       you're using, how are any of these detailing
  20       contacts being attributed to generic drugs in
  21       your model?
  22                          MR. SOBOL:       Objection.
  23               A.         I think you misunderstand the
  24       nature of the model.            The model uses
  25       aggregate MMEs and aggregate detailing, so

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    1                       CERTIFICATE
    2                 I, MICHAEL E. MILLER, Fellow of
           the Academy of Professional Reporters,
    3      Registered Diplomate Reporter, Certified
           Realtime Reporter, Certified Court Reporter
    4      and Notary Public, do hereby certify that
           prior to the commencement of the examination,
    5      MEREDITH B. ROSENTHAL, Ph.D. was duly sworn
           by me to testify to the truth, the whole
    6      truth and nothing but the truth.
    7                 I DO FURTHER CERTIFY that the
           foregoing is a verbatim transcript of the
    8      testimony as taken stenographically by and
           before me at the time, place and on the date
    9      hereinbefore set forth, to the best of my
           ability.
  10
                      I DO FURTHER CERTIFY that pursuant
  11       to FRCP Rule 30, signature of the witness was
           not requested by the witness or other party
  12       before the conclusion of the deposition.
  13                  I DO FURTHER CERTIFY that I am
           neither a relative nor employee nor attorney
  14       nor counsel of any of the parties to this
           action, and that I am neither a relative nor
  15       employee of such attorney or counsel, and
           that I am not financially interested in the
  16       action.
  17
  18
  19       __________________________________
           MICHAEL E. MILLER, FAPR, RDR, CRR
  20       Fellow of the Academy of Professional Reporters
           NCRA Registered Diplomate Reporter
  21       NCRA Certified Realtime Reporter
           Certified Court Reporter
  22
           Notary Public
  23       My Commission Expires:             7/9/2020
  24       Dated: May 6, 2019
  25

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